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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


CLARA JORDAN, on behalf of decedent                CIVIL ACTION NO.
Charles Jordan, TERESA COOPER, on                  1:21-cv-03759-WMR
behalf of decedent Gregory Cooper, and
LINDA ANTHONY, on behalf of decedent
Arthur Anthony,

    Plaintiffs,

                    v.

BECTON, DICKINSON AND
COMPANY, et al.,

     Defendants.


                                       ORDER

      Three plaintiffs brought this action in Georgia state court against Defendant

Becton, Dickinson and Company (“BD”) on behalf of three decedents who were

allegedly exposed to emissions of ethylene oxide (“EtO”). [Doc. 1-1 at 2.] BD

removed the action to federal court and moved to sever the claims. [Docs. 1, 3.] In

its motion to sever, BD argued that “Plaintiffs do not allege that Decedents were

exposed to EtO for the same or even similar durations or during the same time

periods.” [Doc. 3 at 1.] BD also argued that the “nature of Decedents’ purported

EtO exposure is different, their alleged injuries are different, and their underlying

medical conditions are different.” [Id.] Nonetheless, the parties now “jointly request
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that the Court order separate trials while preserving consolidated pretrial case

management.” [Doc. 28 at 3.]

      Under Federal Rule of Civil Procedure 21, the Court may “sever any claim

against a party.” Fed. R. Civ. P. 21. Decisions under Rule 21 are “left to the sound

discretion of the trial court.” See Lampliter Dinner Theater, Inc. v. Liberty Mut. Ins.

Co., 792 F.2d 1036, 1045 (11th Cir. 1986). The Court finds that severing this action

into three new separate actions is proper here. As the parties acknowledge in their

joint motion requesting that the Court order separate trials, the “individual issues

involved” in “each of the three Plaintiff’s cases” warrant different trials. [Doc. 28

at 3.] The Court sees no reason why those individual issues do not also warrant

separate pretrial management in each case, as those issues may lead to different

problems during discovery and different arguments in any dispositive motions.

Likewise, severing this action into three new separate actions will make it

administratively easier for the Court to consider each Plaintiff’s case and lead to less

confusion all around.

      There is also no indication that any party will be prejudiced by severance. BD

originally requested severance, which suggests it will not be prejudiced. And in

opposing severance, Plaintiffs never argued that they would be prejudiced by

severance. [See generally Doc. 18.] Beyond that, to the extent the statutes of

limitations have run for any of Plaintiffs’ claims, the new separate actions will relate


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back to the original filing date of this action. See, e.g., Graziose v. Am. Home Prods.

Corp., 202 F.R.D. 638, 641 (D. Nev. 2001); McClelland v. Azrilyan, 31 F. Supp. 2d

707, 712 (W.D. Mo. 1998).

      Accordingly, Plaintiffs are ORDERED to file three new separate actions and

pay the required filing fees. Plaintiffs are further ORDERED to file a joint notice

in this case once they have all filed their separate actions. The Clerk is DIRECTED

to administratively close this case after Plaintiffs file the required notice. BD’s

motion to sever [Doc. 3] is TERMINATED and the hearing scheduled for January

3, 2022 [see Doc. 25] is CANCELLED.

      IT IS SO ORDERED, this 8th day of November, 2021.




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